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 6 United States of America

 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:12-CR-00168-AWI-BAM
11
                                      Plaintiff,        STIPULATION AND ORDER TO CONTINUE
12                                                      TRIAL DATE, AND TO SCHEDULE TRIAL
                              v.                        CONFIRMATION HEARING.
13
     SHIRLEY KAY DAVIDSON and
14   JAMES GIULIO DAVIDSON,
15                        Defendant.

16
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
17
     attorneys, Grant B. Rabenn, Assistant United States Attorney, and Carolyn D. Phillips, counsel for
18
     defendant Shirley Kay Davidson, and James R. Homola, counsel for defendant James Giulio Davidson,
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     that the trial in the above-captioned matter now set for December 10, 2013 shall be vacated and
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     rescheduled for June 17, 2014. This stipulation is based, in part, on defendant Shirley Kay Davidson’s
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     filing of a motion for a competency hearing, which is currently scheduled to be heard on September 16,
22 2013 at 10:00 a.m. It is expected that this motion will take several months to be resolved. Further,

23 counsel for both defendants are reviewing discovery and conducting investigation into the facts of this

24 case.

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      Stipulation and Order for New Trial Date          1
                           Case 1:12-cr-00168-DAD-BAM Document 43 Filed 08/26/13 Page 2 of 2



 1                          FURTHER, IT IS HEREBY STIPULATED that a trial confirmation hearing will be scheduled

 2 to be held on June 2, 2014 at 10:00 a.m.

 3

 4 Dated: March 21, 2013                                                   BENJAMIN B. WAGNER
                                                                           United States Attorney
 5

 6                                                                         /s/ Grant B. Rabenn
                                                                           GRANT B. RABENN
 7                                                                         Assistant United States Attorney
 8                                                                         /s/ Carolyn D. Phillips
 9                                                                         CAROLYN D. PHILLIPS
                                                                           Attorney for Defendant Shirley Davidson
10
                                                                           /s/ James R. Homola________________________
11                                                                         JAMES R. HOMOLA
                                                                           Attorney for Defendant James Davidson
12
                                                                   ORDER
13
                            The Jury Trial date for the above-captioned matter currently scheduled for December 10, 2013
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     shall be vacated and rescheduled for June 17, 2014 at 8:30am.                   A Trial Confirmation hearing will be
15
     scheduled to be held on June 2, 2014 at 10:00am.
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18 IT IS SO ORDERED.

19
     Dated: August 26, 2013
20   DEAC_Signature-END:
                                                                 SENIOR DISTRICT JUDGE

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                      Stipulation and Order for New Trial Date         2
